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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                               April 10, 2023


Mr. Erik Baptist
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      No. 23-10362       Alliance Hippocratic Medicine v. FDA
                         USDC No. 2:22-CV-223


Dear Counsel:
The court has requested a response to the Appellants Food & Drug
Administration, Robert M. Califf, Commissioner of Food and Drugs,
Janet Woodcock, M.D., in her official capacity as Principal Deputy
Commissioner, U.S. Food and Drug Administration, Patrizia Cavazzoni,
M.D., in her official capacity as Director, Center for Drug Evaluation
and Research, U.S. Food and Drug Administration, United States
Department of Health and Human Services, Xavier Becerra, Secretary,
U.S. Department of Health and Human Services’ Motion for stay pending
appeal and to stay order and Appellant Danco Laboratories, L.L.C.’s
Motion for stay pending appeal and to stay order be filed in this
office on or before April 11, 2023 by midnight.
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                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Lisa E. Ferrara, Deputy Clerk
                                 504-310-7675
cc:
      Ms.   Cynthia Barmore
      Ms.   Jessica Lynn Ellsworth
      Ms.   Sarah Elaine Harrington
      Mr.   Michael S. Raab
      Mr.   Daniel Schwei
